     Case 2:24-cv-02428-JCZ-MBN             Document 9       Filed 01/20/25      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

JASON LENZ                                                       CIVIL ACTION
VERSUS                                                           NO: 24-2428
BOARD OF SUPERVISORS OF UNIVERSITY                               SECTION: A(5)
OF LOUISIANA SYSTEM ET AL



                          SCHEDULING CONFERENCE NOTICE

        A scheduling conference by telephone is set for January 24, 2025, at 10:30 a.m. for the
purpose of scheduling a pre-trial conference and trial on the merits and for a discussion of the
status and discovery cut-off dates.

      Counsel and pro se parties must call in to the conference at (833) 990-9400,
Call ID 014082912.

        TRIAL COUNSEL are to participate in this conference. A paralegal or secretary may
not be substituted. If, however, you are unable for good cause to do so, another attorney in your
firm may participate if acquainted with all details of the case and authorized to enter into any
necessary agreements. If, for good cause, neither is possible, you must file a Motion and Order
to Continue at least two days prior to the above date.

        Counsel adding new parties subsequent to the mailing of this notice shall notify such new
party to participate as required by this notice.

        Counsel are to comply with the discovery disclosure requirements of F.R.C.P. 26(a)(1),
26(f) and Local Rule 26 and the corporate disclosure requirements of F.R.C.P. 7.1. Counsel are
to be prepared to answer the following questions concerning disclosure:
1.      Have all parties completed your Rule 26(a)(1) mandatory initial disclosures?
2.      Have all parties stipulated that initial disclosures under Rule 26(a)(1) will not be made in
        this case?
3.      Do any of the parties object to making Rule 26(a)(1) initial disclosures in this case?
4.      Have the corporate parties filed their corporate disclosure statements pursuant to F.R.C.P.
        7.1, which was amended December 31, 2022?

January 20, 2025
Issued by Jennifer Schouest Limjuco, Case Manager
          Jennifer_Schouest@laed.uscourts.gov
          (504) 589-7687
